Statement on State Health Plan Coverage of Sex Change Operations
October 24, 2018

The State Health Plan's policy of not covering sex change operations as a benefit, is the same now as it
was during the entire eight years of Treasurer Janet Cowell’s administration and all previous North
Carolina Treasurers.

The legai and medical uncertainty of this elective procedure has never been greater,
Until the court system, a legislative body or voters tell us that we “have to,” “when to,” and “how to”
spend taxpayers money on sex change operations, I’m reluctant to make a decision that has the

potential to discriminate against those who desire other currently uncovered elective procedures.

We empathize with all members’ desires, but cannot provide them all with every service they want.

PLAINTIFF’S
EXHIBIT

PLAN DEF0021499

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